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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

B. P. J., by her next friend and mother,
HEATHER JACKSON,

        Plaintiff,

v.                                               CIVIL ACTION NO. 2:21-cv-00316
                                                 Judge Joseph R. Goodwin
WEST VIRGINIA STATE BOARD OF
EDUCATION, HARRISON COUNTY
BOARD OF EDUCATION, WEST VIRGINIA
SECONDARY SCHOOL ACTIVITIES
COMMISSION, W. CLAYTON BURCH, in
his official Capacity as State Superintendent,
DORA STUTLER, in her official capacity as
Harrison County Superintendent, and THE
STATE OF WEST VIRGINIA,

        Defendants.

and LAINEY ARMISTEAD,

        Intervenor Defendant.


     DEFENDANT STATE OF WEST VIRGINIA’S MEMORANDUM IN SUPPORT OF
                   MOTION FOR SUMMARY JUDGMENT
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                                            Introduction
       Plaintiff B.P.J. claims that West Virginia Code §18-2-25d, sometimes referenced by its

enacting legislation (H.B. 3293) and commonly known as the Save Women’s Sports Act

(“Section 25d”), violates both the Equal Protection Clause of the Fourteenth Amendment and

Title IX. On July 21, 2021, this Court granted an “as applied” preliminary injunction on the

basis that the Court was unaware that there was a need to address this issue at this time.

Memorandum Opinion & Order at 1, ECF No. 67. The Court’s injunction was limited to the

Plaintiff only, but stated “[w]hether the law is facially unconstitutional is an issue raised in the

Complaint and will be resolved at a later stage of litigation.” Memorandum Opinion & Order at

4, ECF No. 67. Accordingly, Defendant State of West Virginia will address both a facial

challenge and the as applied challenge.

       Section 25d’s purpose is to, as its name indicates, preserve women’s sports. It does this

by following Justice Ginsberg’s observation that “[p]hysical differences between men and

women . . . are enduring,” United States v. Virginia, 518 U.S. 515, 533 (1996), and that there are

“biological distinctions between male and female.” Bostock v. Clayton Co, Ga., 590 U.S. ___,

140 S. Ct. 1731, 1739, (2020). The statute recognizes that these differences result in males

having an athletic advantage over females and that participation by males in female-designated

contact sports creates safety hazards to female athletes. Further, the Title IX regulations

explicitly anticipate athletic teams based on biological sex, not based on gender identity. Indeed,

biological bodies compete in sports; gender identities do not.

       Section 25d satisfies the Equal Protection Clause and Title IX. Accordingly, the State of

West Virginia is entitled to summary judgment on both claims.




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                                                Background
        The issue in this case is not new, and the decades-old efforts to regulate it are not based

on fear or animosity. For over forty years, sports organizations throughout the world have been

examining whether biological males who identify as being female (sometimes referred to as

transgirls or transwomen) should be allowed to participate on female sports teams. And for at

least ten years, schools, colleges, and other governmental bodies have been examining this issue.

Those crafting the rules, regulations, and laws must consider many competing interests,

including concepts of equity, the integrity of girls and women’s sports, the concerns of the

biological female athletes, which include performance-based fairness, preservation of women’s

sports and the safety of the biological women who would be competing against biological males,

and the admonition, indeed the mandate, of Title IX to protect girls and women from improper

discrimination.

        In 1976, this topic emerged in a significant way when 41-year old Richard Raskin

became Renee Richards and (after some legal action) began to compete on the women’s

professional tennis circuit and quickly dominated most, but not all, of the biological female

competition—who were mostly half Renee’s age.1 Years later, Richards “came to believe her

past as a man provided her with advantages over her competitors[.]” Id.

        In 1990, the International Amateur Athletic Federation (the “IAAF,” now known as

World Athletics) recognized that this was no longer an isolated issue and there was a real and

existing need to establish rules on whether biological men self-identifying as women may

compete as females and, if so, on what conditions. The resulting 1990 IAAF policy allowed (a)

prepubescent males to participate on female teams after completing sex reassignment surgery,


1
 Renee Richards, DB4TENNIS, https://www.db4tennis.com/players/female/renee-richards (last visited Apr. 21,
2022).

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and (b) males that had sex reassignment surgery after puberty be eligible to participate based on

additional factors and the IAAF’s discretionary “case-by-case evaluation of athletes who have

undergone sex reassignment.”2

        In 2003, the International Olympic Committee (the “IOC”) evaluated the IAAF policy

and, in 2004, implemented its own policy allowing biological male athletes identifying as

females to participate on female teams—but only as follows: (1) prepubertal males must have

completed surgical sex reassignment surgery from male to female; and (2) postpubertal males

must (a) have completed surgical sex reassignment surgery, including external genitalia changes

and gonadectomy, (b) have obtained legal recognition of their assigned sex, and (c) shown that

hormonal therapy has been administered in a verifiable manner and for a sufficient length of time

to minimize gender-related advantages in sport competitions, i.e. for at least two years after

gonadectomy. Id.3

        Since then, at least 40 national and international athletic organizations have studied this

issue and issued their own rules, which vary significantly from one another. In 2015, U.S.

Rugby recognized the serious physical risk of biological males competing against females and

completely banned postpubertal biological males from competing against biological females—

with no exceptions. Other organizations—focusing on fairness in competition—severely

restricted transfemale athletes from competing on female teams. For example, the National

Women’s Soccer League (“NWSL”) requires (among other things) (1) the transfemale player’s



2
  Press Release, IOC approves consensus with regard to athletes who have changed sex (May 18, 2004),
https://olympics.com/ioc/news/ioc-approves-consensus-with-regard-to-athletes-who-have-changed-sex-1
(explaining the background of these policies).
3
  Notably, “transgender pioneer” Renee Richards opposed the IOC 2004 policy because it is “not a level playing
field” for the biological women. Emily Bazelon, Cross-Court Winner—Renee Richards (1934- ), SLATE: SPORTS
NUT (Oct. 25, 2012, 8:00 AM), https://slate.com/culture/2012/10/jewish-jocks-and-renee-richards-the-life-of-the-
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total testosterone level in serum be within typical limits of women athletes (the current standard

is below 10 nmol/L) for at least twelve (12) months prior to competition; (2) the athlete's total

testosterone level in serum to remain in the typical range of women athletes; and (3) a final

determination of fairness and reasonableness—in the NWSL’s sole discretion. Other

organizations simply allow players to compete on the sports team of their gender-declared

identity, switchable at any time.4 Finally, in 2022, the National College Athletic Association

(“NCAA”) abandoned the issue to individual sporting organizations.5

         Also, for over a decade, academics have been studying the competitive advantage issues,

the safety issues, and whether testosterone suppression and hormone therapy will eliminate the

performance advantage. See generally Ex. G, Brown Decl., and Ex. E, Carlson Decl., and

bibliography of each. While academia, the media, and advocacy organizations continued to

study and debate these issues, schools and governments needed to address both the existing and

anticipated impact on girls and women and their sports.

         West Virginia sports organizations have been dealing with these issues since at least

2015, when Defendant West Virginia Secondary Schools Activities Commission (“SSAC”)

formulated an internal board policy anticipating this emerging issue. Ex. A, Dolan Dep. at pp.

117-119; 121-126; and Ex. 6 thereto. The board policy would give SSAC the authority to decide

a transgender athlete’s eligibility based on the student’s “threat to competitive equity or the

safety of teammates or opposing players.” Id. Since then, SSAC had a male volleyball player

inquire about participating as an identified female and another athlete (who was possibly gender-




4
  See e.g. INTERNATIONAL QUIDDITCH ASSOCIATION, IQA RULEBOOK 2020 7 (2020),
https://iqasport.cdn.prismic.io/iqasport/86da705a-b6b3-4a1f-8f49-e1d5097ba4c2_Rulebook-20.pdf.
5
  Board of Governors Updates Transgender Participation Policy, NCAA: MEDIA CENTER (Jan. 19, 2022, 8:41 PM),
https://www.ncaa.org/news/2022/1/19/media-center-board-of-governors-updates-transgender-participation-
policy.aspx.

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fluid) inquire about moving back and forth between male and female sports teams. Dolan Dep.

at pp. 120-121. Indeed, the issue regarding the Plaintiff’s participation in female sports was

initially raised in the Harrison County School District in 2019 when the school, B.P.J., and

B.P.J.’s mother met and completed a Gender Support Plan, which specifically asked in which

extracurricular sports B.P.J. wanted to participate. Ex. B., Jackson Dep. at pp. 143-144, 237-

251, and Ex. 17 thereto. The issue came up again in B.P.J.’s 2021 Gender Support Plan in which

B.P.J. expressed interest in cross country sports. Id. at Ex. 19 thereto.

         This long-standing issue regained the national spotlight in 2019 when biological male

Terry Miller, identifying as a female, beat a biological female in girls track in Connecticut.6

Three biological females then sued claiming a violation of Title IX.7

         In recognition of these increasingly apparent issues, West Virginia began to grapple with

this sensitive issue to try to find a fair solution at the highest level. See Imaginary Images, Inc. v.

Evans, 612 F.3d 736, 742 (4th Cir. 2010) (the State “may also rely on the experiences of other

jurisdictions and on findings expressed in other cases). H.B. 3293 (commonly called the “Save

Women’s Sports Act”) was debated extensively and amended several times to try to

accommodate all relevant concerns before being passed and codified at West Virginia Code 18-

2-25d. Reflecting the Legislature’s struggles to adopt the right solution to such a sensitive,

controversial issue, even Plaintiff’s rebuttal expert Dr. Janssen agreed that he did not know the

“best way for states to address a complex issue such as this.” Ex. C, Janssen Dep. at p. 338: 3-5.




6
  See Pat Eaton-Robb, Connecticut Transgender Policy Found to Violate Title IX, NBC CT (May 28, 2020, 12:20
PM), https://www.nbcconnecticut.com/news/local/connecticut-transgender-policy-found-to-violate-title-
ix/2278511/.
7
  Talia Kaplan, “We are fighting for fairness in women’s sports,” says Connecticut student sueing over transgender
policy, FOX NEWS: SPORTS (Feb. 11, 2021, 3:06 PM), https://www.foxnews.com/sports/fairness-womens-sports-
student-suing-transgender-athlete-policy.

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         The Legislature found that, while “[t]here are inherent differences between biological

males and biological females, and that these differences are cause for celebration . . . . [they] are

not a valid justification for sex-based classifications that make overbroad generalizations or

perpetuate the legal, social, and economic inferiority of either sex.” Section 25d(a)(2). In this

matter, Plaintiff has denigrated as unscientific the statute’s use of the term “sex” and its

classification of “biological sex,” defining it as “an individual’s physical form as a male or

female based solely on the individual’s reproductive biology and genetics at birth” (Section

25d(b)(1)). However, this classification is very similar to the one used by the American

Psychiatric Association defining “sex” as the “[b]iological indication of male and female

(understood in the context of reproductive capacity), such as sex chromosomes, gonads, sex

hormones, and nonambiguous internal and external genitalia.” AMERICAN PSYCHIATRIC

ASSOCIATION, DIAGNOSTIC AND STATISTICAL MANUAL OF MENTAL DISORDERS (DSM-5) 829 (5th

ed. 2013). The Endocrine Society similarly explains: “Biological sex is often confused with

gender in our society. The two sexes are differentiated as females, who have ovaries and produce

eggs, and males, who have testes and produce sperm.”8             Finally, the Supreme Court uses the

term “sex” to mean “biological distinctions between male and female.” Bostock, 590 U.S. at

___, 140 S. Ct. at 1739; see also Ex. D, Adkins Dep. at p. 74 (sex is a “biological concept”).

         The Legislature avoided making inappropriate generalizations and drafted the law

narrowly to protect legitimate governmental interests. The Legislature explained that “these

inherent differences [between biological males and biological females] are a valid justification

for sex-based classifications when they realistically reflect the fact that the sexes are not



8
  Endocrine Society Issues Scientific Statement on Sex Differences in Research, ENDOCRINE NEWS: INTOUCH (May
2021), https://endocrinenews.endocrine.org/endocrine-society-issues-scientific-statement-on-sex-differences-in-
research/ (last visited Apr. 21, 2022).

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similarly situated in certain circumstances,” citing Michael M. v. Sonoma County, Superior

Court, 450 U.S.464 (1981). W. Va. Code 18-2-25d(a)(2). Akin to the Endocrine Society’s

statement referenced above, Section 25d further recognized that:

       gender identity is separate and distinct from biological sex to the extent that an
       individual's biological sex is not determinative or indicative of the individual's gender
       identity. Classifications based on gender identity serve no legitimate relationship to the
       State of West Virginia's interest in promoting equal athletic opportunities for the female
       sex.
Id. at (a)(4). Finally, the Legislature recognized that “[i]n the context of sports involving

competitive skill or contact, biological males and biological females are not in fact similarly

situated.” Id. at (a)(3) (emphasis added). These legislative findings, even in the context of the

equal protection analysis, are “entitled to great deference”. Michael M. at 470; see also

Imaginary Images, Inc., 612 F.3d at 742 (legislature’s “policy expertise is entitled to

“deference[.]”

       The operative provision provides: “Athletic teams or sports designated for females,

women, or girls shall not be open to students of the male sex where selection for such teams is

based upon competitive skill or the activity involved is a contact sport.” Section 25d(c)(2).

This reflects 34 CFR § 106.41(b), which explicitly allows entities subject to Title IX to “operate

or sponsor separate teams for members of each sex where selection for such teams is based upon

competitive skill or the activity involved is a contact sport.” (emphasis added).

       While the Save Women’s Sports Act does not recite the multitude of studies and

thousands of data points supporting these well-recognized interests, those studies and data points

show that there was—and continues to be—a compelling governmental interest, and that the law

satisfies both a rational basis test and a heightened scrutiny test.

       After Section 25d’s enactment, this issue again regained national attention when the

University of Pennsylvania allowed Lia Thomas, a biological male swimmer now identifying as

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female after competing for years as a male, to compete on its female swim team. Biological

young women objected in strong terms regarding fair competition and the personal impact of

these events, saying: “They’re just proving, once again, that they don’t actually care about their

women athletes[.]”; “They say that they care and that they’re here for our emotions, but why do

we have to be gracious losers? . . . Who are you to tell me that I shouldn’t want to win because I

do want to win. I'm swimming. I'm dedicating more than 20 hours a week to the sport.”; and

“Obviously, I want to win. You can't just tell me I should be happy with second place. I'm

not.”9 Other biological girls also expressed their fairness concerns over this issue.10 The need

for fairness to biological females cannot be waved away. States and schools are duty-bound to

provide fair and equal athletic opportunities and safe sports for female athletes.

                                              Legal Analysis
A. Legal Standard

          The State of West Virginia is entitled to summary judgment because “there is no genuine

issue as to any material fact and the moving party is entitled to a judgment as a matter of law.”

Evans v. Techs. Applications & Serv. Co., 80 F.3d 954, 958 (4th Cir. 1996) (citing Fed.R.Civ.P.

56(c)).

B. Plaintiff’s Equal Protection Claim Fails.

          No State shall “deny to any person within its jurisdiction the equal protection of the laws.”

U.S. Const. amend. XIV, § 1. As long recognized by the Supreme Court, the Equal Protection

Clause is “essentially a direction that all persons similarly situated should be treated alike.” City



9
  Paulina Dedaj, Penn swimmer slams school’s handling of Lia Thomas saga: “They don’t actually care about
women at all”, FOX NEWS: SPORTS (Jan. 28, 2022, 11:10 AM), https://www.foxnews.com/sports/lia-thomas-penn-
swimming-teammate-interview.
10
   See Haley Tanne, Who will stand up for me and other women being beaten by biological males like Lia Thomas?,
FOX NEWS: OPINION (Mar. 23, 2022, 2:00 AM), https://www.foxnews.com/opinion/women-sports-biological-males-
lia-thomas.

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of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985) (emphasis added). In this manner,

the provision “simply keeps governmental decisionmakers from treating differently persons who

are in all relevant respects alike.” Nordlinger v. Hahn, 505 U.S. 1, 10 (1992) (emphasis added). It

is “a shield against arbitrary classifications.” Engquist v. Oregon Dep’t of Agr., 553 U.S. 591, 598

(2008). As such, a plaintiff asserting a violation of the Equal Protection Clause must “demonstrate

that he has been treated differently from others with whom he is similarly situated and that the

unequal treatment was the result of intentional or purposeful discrimination.” Morrison v.

Garraghty, 239 F.3d 648, 654 (4th Cir. 2001). Further, the Equal Protection Clause “does not

make sex a proscribed classification.” Virginia, 518 at 533.

        Plaintiff has argued that heightened scrutiny should apply because Section 25d

discriminates against biological males who identify as females, commonly known as transgender

females or transfemales. Although the State disagrees, the State acknowledges that the Fourth

Circuit has held that heightened scrutiny applies if a law or policy allegedly treats transgender

persons in a less favorable way than it treats all others. See Grimm v. Gloucester Cnty. Sch. Bd.,

972 F.3d 586, 610 (4th Cir. 2020), as amended (Aug. 28, 2020). ), cert. denied, 141 S. Ct. 2878,

(2021)11

        But Section 25d treats all biological males the same, whether they identify as females or

males. It prohibits all biological males from participating in female sports. It also treats all

biological females the same regardless of how they identify. Therefore, it does not discriminate

against transgender athletes. See Doe 2 v. Shanahan, 755 F. App’x. 19, 23-25 (D.C. Cir. 2019)

(reversing finding that requiring military personnel to serve in their biological sex was a blanket



11
   Although Grimm is distinguishable from this case, the State believes that Grimm was wrongly decided on its own
terms and reserves the right to challenge any heightened scrutiny standard on appeal. See Grimm, 972 F.3d at 627-37
(Niemeyer, J., dissenting).

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transgender ban and acknowledging that the military had substantial arguments that the plan

complied with equal protection principles).

          Assuming the Court does apply heightened scrutiny, there is no question that strict scrutiny

does not apply. Examining that standard shows what the law need not satisfy. Under strict scrutiny

“classifications are constitutional only if they are narrowly tailored to further compelling

governmental interests.” Fisher v. Univ. of Texas at Austin, 570 U.S. 297, 310 (2013) (citing

Grutter v. Bollinger, 539 U.S. 306, (2003)). However, even under strict scrutiny, no cases have

ever suggested that a challenged statute must be perfectly tailored to fit every person that it might

affect.

          By contrast, intermediate scrutiny requires first that the “classification serves important

governmental objectives.” Virginia, 518 U.S. at 524 (internal quotation marks omitted). For an

objective to be “important,” it cannot stem from “overbroad generalizations about the different

talents, capacities, or preferences of males and females.” Id. at 533. The objective must also be

“genuine.” Id.

          Second, the government must show that “the discriminatory means employed are

substantially related to the achievement of those objectives.” Id. at 524 (internal quotation marks

omitted).     Notably, neither element of the test requires a realized “problem”; it is always

appropriate for legislatures to address issues that, as here, have been around for years or decades.

          Importantly, this heightened standard does not mandate that all sex-based classifications

must fail; rather, the “[p]hysical differences between men and women . . . are enduring” and render

“the two sexes . . . not fungible.” Virginia, 518 U.S. at 533 (cleaned up); accord Tuan Anh Nguyen

v. INS, 533 U.S. 53, 68 (2001). Indeed, “[t]o fail to acknowledge even our most basic biological

differences . . . risks making the guarantee of equal protection superficial, and so disserving it.”



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Nguyen, 533 U.S. at 73.           Accordingly, laws may (and should) acknowledge the physical

differences between men and women, so long as such sex-based classifications do not “create or

perpetuate the legal, social, and economic inferiority of women.” Virginia, 518 U.S. at 534; see,

e.g., Nguyen, 533 U.S. 53 (upholding law requiring unmarried citizen fathers, but not mothers, to

officially acknowledge relationship to foreign-born child in order to pass U.S. citizenship to such

child because of biological differences between the sexes). In short, when applying this standard,

the Supreme Court takes “into account actual differences between the sexes, including physical

ones.” Clark v. Ariz. Interscholastic Ass’n., 695 F.2d 1126, 1129 (9th Cir. 1982) (citing Michael

M. v. Sonoma Cty. Superior Ct., 450 U.S. 464, 468-69 (1981)); see Nguyen, 533 U.S. at 73.

        Section 25d satisifies intermediate scrutiny. It serves the important governmental

objectives long recognized by many international athletic organizations, the SSAC, and Title IX

(see 34 CFR § 106.41)—namely providing equal athletic opportunities to biological females and

protecting the safety of biological female athletes. By precluding all biological males—regardless

of their gender identity—from competing on teams designated for biological females, Section 25d

directly protects these interests.12

                     1. The State’s Interests Are Important.
        The State’s objectives have long been recognized by sports organizations, academic papers,

experts, the federal government, and courts. First, Plaintiff has conceded that the first interest—

to provide equal athletic opportunities—is important. Memorandum of Law at 20, ECF No. 19.

It is well-established that “[t]here is no question” that “redressing past discrimination against

women in athletics and promoting equality of athletic opportunity between the sexes” is “a

legitimate and important governmental interest” justifying rules excluding males from female


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   The law does not have an overly broad sweep. For example, it does not prohibit biological females from joining
teams of biological males because that is not necessary to meet the governmental objectives.

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sports. Clark, 695 F.2d at 1131. Excluding males from female sports to “promote sex equality”

and promote fair opportunities for female athletes is precisely what Section 25d does. The federal

government further recognized the governmental interest in 1972 by authorizing girls-only teams

in its Title IX regulations. See 34 CFR § 106.41(b). West Virginia followed the federal

government’s long-standing view, stating: “[c]lassification of teams according to biological sex is

necessary to promote equal athletic opportunities for the female sex.” W. Va. Code §18-2-

25d(a)(5).

       Federal regulations also recognize the govenmental interest in safety for female athletes

by authorizing female-designated teams for “contact sports” including “boxing, wrestling, rugby,

ice hockey, football, basketball and other sports the purpose or major activity of which involves

bodily contact.” 34 CFR § 106.41(b). The SSAC’s 2015 board policy also recognized the

importance of “the safety of teammates or opposing players” in the context of separate female

athletic teams. See Dolan Dep. at 6. And these are not “overbroad generalizations” regarding the

female sex, but rather reflect “inherent differences” which “realistically reflect the fact that the

sexes are not similarly situated” in the context of contact sports. See W. Va. Code §18-2-25d(a)(2).

        Dr. Chad Carlson, MD, FACSM, is the only expert in this case to have examined this

safety issue.   He concluded that “[t]he science of sex-specific differences in physiology,

intersecting with the physics of sports injury, leaves little doubt that participation by biological

males in these types of girls’ or women’s sports, based on gender identity, creates significant

additional risk of injury for the biologically female participants competing alongside these

transgender athletes.” Carlson Decl. at p. 2. Further, the only international athletic organizations

that examined this specific issue concur with Dr. Carlson’s conclusions. In 2020, World Rugby

concluded that “there is currently no basis with which safety and fairness can be assured to



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biologically female rugby players should they encounter contact situations with players whose

biological male advantages persist to a large degree,” and that, after puberty, “the lowering of

testosterone removes only a small proportion of the documented biological differences.” Id.

Likewise, the UK Sports Council concluded, “[t]here are significant differences between the sexes

which render direct competition between males and females . . . unsafe in sports which allow

physical contact and collisions.” Id. at 3. (citing UK Sports Councils’ Equality Group Literature

Review 2021 at 1.)”

                   2. Section 25d Is Substantially Related To The State’s Interests.
       Section 25d protects the State’s important interests based on the well-known “innate

physical differences between the sexes, rather than on generalizations that are ‘archaic’ or

attitudes of romantic paternalism.” Clark I, 695 F.2d at 1130 (cleaned up) (quoting Petrie v. Ill.

High Sch. Ass’n, 394 N.E.2d 855, 862 (1979)).

               a. The Save Women’s Sports Act Protects Equal Athletic Opportunities for
               Female Athletes.
       Section 25d is designed to be, and is, substantially related to the important goal of ensuring

equal opportunities for females in sports. As expressed by one of Plaintiff’s experts, “gender

identity itself is not a useful indicator of athletic performance.” Ex. F, Safer Dep. 167:22-24 to

168:1. This is because the record shows that males notably outperform females in competitive

sports such as track and field and other non-contact sports. It is an established physiological fact

recognized by numerous courts, shown by performance data, and explained by well-known

researchers. See, e.g., Clark, 695 F.2d at 1131 (noting that rule excluding boys from girls’ team

“is simply recognizing the physiological fact that males would have an undue advantage competing

against women,” and would diminish opportunities for females) and W. Va. Resp. at Ex. I, ECF




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No. 49. Allowing biological males to compete in female sports is unfair to biological females due

to males’ inherent physical advantages.

        At virtually all levels of competition, “men, adolescent boys or male children, have an

advantage over equally aged, gifted and trained women, adolescent girls or female children in

almost all athletic events[.]” Brown Decl. at 4. And the advantages are not subtle—numerous

large studies bear this out.

        The advantage starts well before puberty. Males have an initial testosterone boost after

birth. At 0-5 months, males’ testosterone levels exceed female levels by as much as 500 percent

(Brown Decl. at ¶68), after which it levels off until puberty. Indeed, “[r]esearch shows that sex-

based discrepancies in lean muscle mass begin to be established from infancy, and persist through

childhood to adolescence.” Carlson Decl. at ¶49 (citing studies).

        Actual data from extensive international studies show that prepubertal biological boys

consistently outperform girls in jumping, running, and upper body strength events, sometimes in

drastic fashion. Brown Decl. at ¶¶ 71-109. In track and field events, the advantage of 11-year-old

males ranges between 3.1% in short races (a winning advantage) to as much as 20.9% in the one

mile run and 45% in 20 meter shuttle run (measured in stages). See Ex. H-1 (charting 12 studies,

cumulatively involving tens of thousands of children). Furthermore, the advantage starts as early

as six years old. Another study showed that, in the 20 meter shuttle run (laps completed), the

advantage for average kids (i.e., in the 50th percentile) ranged from 16.7% for six-year-olds to

38.5% for eleven-year-olds. Brown Decl. at ¶78; see also Tambalis 2015 study cited in Brown

Decl. at ¶76 and Ex. H-4 (showing 12-38% advantage in shuttle run, depending on age). Another

broad-based study showed that, in the one-mile run (1.6 km), the male advantage in the 50th

percentile ranged from 14.3% for nine-year-olds to 14.7% for eleven-year-olds. Brown Decl. at



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¶83. For 12 through 17 year-olds, the percentages went from 15.7% to 27.5%. Id at ¶83. U.S.

data from Athletic.net show similar advantages; nationally, average males have an advantage in

the one-mile run of 4.5% at age 6, 17.3% at age 11, and 31.8% at age 17. See Id. at ¶103 and App.

1 thereto.

        Actual data for West Virginia middle schoolers (like the Plaintiff) further shows that 6th

grade (approximately 11 years old) West Virginia boys (top ten finishers) bested girls by an

average of 11.5% in the one mile run and 8.1% in the two mile run. Id. at ¶104 (pp. 34-35) and

Ex. H-2 hereto. Nationally, the numbers for similar-aged children are even higher. Id. at Appx.1.

In B.P.J.’s preferred sport of cross country, nationally 6th grade males outperformed females by

5.8%. Id. at Appx. 1, k. In fact, across nearly all sports with available data, six to eleven year old

prepubescent boys outperform the same age girls by significant margins. Brown Decl. at ¶¶71-

109. After puberty the advantage is even more drastic. Brown Decl. at ¶¶110-118 and Appx. 1

thereto. For example, in the one-mile run, average 17-year-old males outperform average 17-year-

old females by 31.8%. Id., Appx. At p.(i).

        The evidence is overwhelming: Biological males have an athletic advantage over biological

females. Plaintiff’s experts have claimed that this can be eliminated via puberty blockers and

hormone treatments. But there is no performance data to support this assertion. In fact, the

opposite is true.

        Testosterone suppression may reduce male advantages, but the existing studies “report that

testosterone suppression for a full year (and in some cases much longer) does not come close to

eliminating male advantages in strength (hand grip, leg strength, and arm strength) or running

speed.” Brown Decl. at ¶122; see generally id. at ¶¶122-174. One longitudinal study showed that

two years of testosterone suppression slightly reduced the male advantage in a 1.5 mile run from



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21% to 12%. Id. at ¶134 and Ex. H-3 (chart). But a 12% advantage remains a massive performance

advantage.

        Even Plaintiff’s expert, Dr. Safer, relies on a source, which confirms that reducing

circulating testosterone does not eliminate the male athletic advantage:

       The striking male postpubertal increase in circulating testosterone provides a
       major, ongoing, cumulative, and durable physical advantage in sporting contests
       by creating larger and stronger bones, greater muscle mass and strength, and higher
       circulating hemoglobin as well as possible psychological (behavioral) differences.
       In concert, these render women, on average, unable to compete effectively against
       men in power-based or endurance-based sports.

David J. Handelsman et al., Circulating testosterone as the hormonal basis of sex differences in

athletic performance, 39 ENDOCRINE REVIEWS 803, 805 (2018), available at https://bit.ly/37w4v2i

(“Handelsman Paper”). (cited in Shafer Decl. at ¶ 25, Motion, ECF No. 2-1) (emphasis added).

       Finally, while anecdotes are not as conclusive as studies, they are illustrative. In 2016 and

2017, NCAA athlete Cece Tefler competed as a male in several track events and was ranked 200th

and 390th, respectively. After one year of testosterone suppression, Cece Tefler competed as a

female and dominated when competing in an event. The fact that Tefler’s race times as a female

were nearly identical to those when competing as a male, Brown Decl. at ¶¶135-137, bears out the

scientific data regarding the advantage of males.

       Even assuming, contra-factually, that testosterone suppression could eliminate the male

advantages, Section 25d would still meet the “substantial relationship” element of the Equal

Protection Clause test. As the Supreme Court has made clear in applying intermediate scrutiny,

the fact that athletic opportunities might be equalized through other means or by other measures is

of no constitutional consequence. Nguyen, 533 U.S. at 70. Put another way, the existence of even

“wiser alternatives than the one chosen does not serve to invalidate the policy [of excluding males

from female sports] since it is substantially related to the goal” of providing fair and equal

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opportunities for females to participate in athletics. Clark, 695 F.2d at 1132. Demanding that the

statute provide an exact solution as to every plaintiff that brings an as-applied challenge would

effectively disregard intermediate scrutiny by improperly demanding a perfect fit between the sex-

based classification and the government interest at issue. Intermediate scrutiny requires that the

“fit between the challenged regulation and the asserted objective be reasonable, not perfect.”

United States v. Staten, 666 F.3d 154, 162 (4th Cir. 2011) (emphasis added).

       Thus, the actual evidence shows that the Save Women’s Sports Act’s requirement that only

biological females may participate on female teams is based on science, and that it is substantially

related to the important governmental objective of ensuring equal athletic opportunities for

females.

               b. The Save Women’s Sports Act Protects Female Athlete’s Safety.
       A second governmental interest supporting the Save Women’s Sports Act is the

fundamental interest in the safety of girls and women in contact sports. That interest is implicit

in the Title IX sports regulations, is recognized by World Rugby and UK Sports (see Carlson

Decl. at pp. 1-3) and, here in West Virginia, by SSAC. And it is self evident in the very nature

of contact sports.

       Section 25d is designed to protect female athletes from physical injuries. The biological

sex classification is substantially related to that purpose, and the scientific evidence supports that

classification. Dr. Chad Carlson is a medical doctor practicing in sports medicine and has

extensive qualifications in this area of medicine. See Carlson Decl. He fully documents the

science behind what is “self-evident to most people familiar with sports injuries that if men and

women were to participate together in competitive contact sports, there would be higher rates of

injury in women.” Id. at ¶24. The West Virginia Legislature is just as familiar with this

common-sense observation as anyone observing men’s and women’s contact sports. See Billups

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v. City of Charleston, S.C., 961 F.3d 673, 685 (4th Cir. 2020) (governments can use “common

sense” to establish a governmental interest).

       Athletes are often grouped together in “a pool of individuals with predictable

commonalities.” Carlson Decl. at ¶22. “[T]here are statistical differences between sexes when it

comes to [variables related to causes of injuries] meaning that in a collision sport where

skeletally mature males and females are playing against one another there is a higher statistical

likelihood that injury will result when collisions occur, and in particular there is a higher

likelihood that a female will suffer injury.” Id. at ¶25. Physics can help understand and predict

sports injuries. Id at ¶¶29-41. “[W]hat appear to be minor discrepancies in size and speed”

between males and females can cause “more frequent and more severe injuries.” Id. at ¶33. In

more technical terms, the “increase in kinetic energy, and therefore imparted forces resulting

from collision with larger, faster players” can be “profound.” Id. at ¶41 (internal citation

omitted). Indeed, “[i]t is an inescapable fact of the human species that males as a group are

statistically larger and heavier than females.” Id. at ¶43. They are bigger, stronger, taller, and

faster. Id. at ¶¶44-46. They throw, punch, and kick harder. Id. at ¶¶47-56. These advantages

translate into not only male performance advantages in contact sports, but also into increased

dangers to biological females if they compete on the same teams or against one another.

       Biological females are also inherently more susceptible to injury than biological males.

Id. at ¶¶57-66. While one might think this relates only to high school and college, it in fact also

applies to middle schoolers. Id. at ¶57. The news media and schools have often recognized the

dangers of concussions in football. But female concussions in soccer, volleyball, basketball, and

softball/baseball are much higher than for males. Overall, concussion rates among NCAA

female collegiate athletes is “40% higher than that of males.” Id. at 61. Given that biological



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females have higher rates of concussive injury when competing against one another, “[t]he

addition of biologically male athletes into women’s contact sports will inevitably increase the

risk of concussive injury to girls and women.” Id. at ¶69. Since concussions can cause severe

and long lasting harm, the State must be particularly vigilant of female athletes’ safety.

       Finally, Anterior Cruciate Ligament (“ACL”) injuries are a common problem for athletes,

especially in some contact sports. Female athletes are “far more vulnerable to ACL injuries”

than males. Id. at 70, and generally at ¶¶70-78. The introduction of male athletes into female

arenas can only increase the potential for such injuries.

       Some assert that “hormonal manipulation of a male athlete can feminize the athlete

enough that he is comparable with females” for these purposes (Id. at ¶80), but “none of the

relevant transgender eligibility policies [of sports organizations]. . . requires any demonstration

that it has actually achieved that effect[.]” Id. at ¶81. “In fact, the relevant evidence strongly

indicates that no amount of testosterone suppression can eliminate male physiological

advantages relevant to performance and safety”. Id. at ¶83, and generally ¶¶79-97. Some sports

organizations claim to level the field by requiring transwomen to have a circulating testosterone

level of either 5 or 10 nmol/L. But, that is still five to ten times the typical biological females’

level of 0.06 to 1.68 nmol/L. See id. at ¶81. In any event, “sex-based discrepancies in lean

muscle mass begin to be established from infancy, and persist through childhood to

adolescence.” Id. at ¶49 (citing studies). After puberty, testosterone suppression does not

“materially shrink bones so as to eliminate height, leverage, performance and weight

differences[.]” Id. at ¶89.

       Organizational data is limited but tilts in a common direction. The NCAA is apparently

“not monitoring and documenting instances of transgender participation on women’s teams for



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purposes of injury reporting.” Id. at ¶85. The only organizations that actually have examined

the safety of biological women in the debate over transfemale athletes in female sports have

determined that it is not safe to have transfemales on female designated teams. See id. at ¶¶94

and 86, citing World Rugby and UK Sport.13

        Because the participation of transgender females in contact sports is relatively new, there

have not been wide scale studies of resulting injuries. However, the reported incidents are

illustrative. For example, transfemale mixed-martial arts fighter Fallon Fox fought biological

woman Tamikka Bretts and broke Tamikka’s eye socket. Tamikka, an unusually strong women

in her own right, “never felt so overpowered” by any other woman. Carlson Decl. at ¶47.

        While Plaintiff’s endocrinologist experts theorize that simply depressing circulating

testosterone might equalize the sexes in performance, they make no claim that it will eliminate

the safety risks to girls and women in contact sports. Moreover, Plaintiff has no studies or sports

medical experts that support such a claim.

        In any event, governments need not await injury before acting, particularly when injury

can be anticipated and prevented. This issue has been present in sports for over four decades, but

now that the number of children and youth identifying as transgender has shot up to over 100

times historical rates (Carlson Decl. at p.59), the Legislature can reasonably act now—the

Constitution does not require waiting for more data or actual injuries to West Virginia student-

athletes. As Dr. Carlson—the only expert in this case knowledgeable about sports injuries—

explains: “policymakers have an important and pressing duty not to wait while avoidable injuries

are inflicted on girls and women, but instead to proactively establish policies governing



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  While girls and women may voluntarily subject themselves to some such risk if they choose to participate in co-ed
contact sports, the West Virginia Legislature reasonably concluded that participation in female-designated contact
sports should not result in having to confront such risk.

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participation of biological males in female athletics that give proper and scientifically-based

priority to safety in sport for these girls and women. Separating participants . . . promotes the

safety of female athletes by protecting them from predictable and preventable injury.” Id. at

p.59. That is exactly what West Virginia has done, using a classification that is “substantially

related to the achievement of those objectives.” Virginia, 518 U.S. 524. Accordingly, Section

25d meets the constitutional requirements under the Equal Protection Clause.

               c. Plaintiff’s As Applied Challenge Also Fails.
       As discussed above, on average, male athletes such as B.P.J. do have an inherent physical

advantage over equally aged, gifted, and trained females. This even applies to prepubertal

biological males identifying as females, such as B.P.J. Theoretical arguments that puberty

blockers prevent or eliminate this advantage, or that only circulating testosterone affects athletic

performance, are only theories, and there is no performance data to support those theories. The

existing data (Section B.2.a.) actually show otherwise.

       As-applied challenges to laws based on the Equal Protection Clause can succeed only if

the law violates the Constitution “in discrete and well-defined instances.” Gonzales v. Carhart,

550 U.S. 124, 167 (2007). At the preliminary injunction stage, the Court relied on Plaintiff’s

experts’ claims that “there is a medical consensus that the difference in testosterone is generally

the primary known driver of differences in athletic performance between elite male athletes and

elite female athletes.” Memorandum Opinion & Order at 10, ECF No. 67. But the fact that

prepubescent biological boys have a significant performance advantage over prepubescent

biological girls refutes this claim. See supra Section B.2.a. Moreover, at the preliminary

injunction stage, it was anticipated that B.P.J. would not displace any biological females, thus

suggesting that Section 25d need not apply to B.P.J.’s situation. In fact, the results have shown

the contrary. The team roster for girls’ cross country at Plaintiff’s school was long enough that

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everyone who tried out made the team, including B.P.J. However, at cross country events, B.P.J.

did beat other biological females, taking from them the placements and rankings that they

otherwise would have had in those races.

       B.P.J., as a biological male, had a statistically unfair advantage over the biological girls

on the cross country team and at cross country events. The fact that B.P.J. was not able to beat

all the biological girls is of no moment; B.P.J. did beat, and therefore did displace, some of them.

The government has a compelling interest in providing equal opportunities to all biological

females and the law is substantially related to that purpose. Accordingly, the Court should find

the law passes constitutional muster on an as applied basis.

                   3. C. Plaintiff’s Title IX Claim Fails.
       Section 25d does not exclude the Plaintiff or any other biological male, whether

identifying as male or female, from school athletics. To the contrary, it simply designates on

which team they shall play. This is consistent with, and supports the purposes of, Title IX.

       As discussed above, on average, male athletes do have an inherent physical advantage

over equally aged, gifted, and trained females. Plaintiff’s experts’ theoretical argument that only

circulating testosterone affects athletic performance fail to provide any performance data to

contradict the data from not only West Virginia and the United States overall, but also data from

all over the planet. That data shows that even prepubertal males have a significant athletic

advantage, irrespective of circulating testosterone. A male with a female identity does not lose

that inherent advantage. Accordingly, both prepubertal and postpubertal males who identify as

females are more similarly situated to similarly aged males identifying as males than biological

females.

       Title IX requires some different treatment between the biological sexes. See 34 § CFR

106.41(b). It does not prohibit or even address different treatment based on gender identity. So

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not only does Section 25d not violate Title IX, the law strengthens the goals of Title IX in West

Virginia.

                   1. The Purposes And Achievements Of Title IX.
       Title IX was designed to eliminate significant “discrimination against women in

education.” Neal v. Bd. of Trs. of Cal. State Univs., 198 F.3d 763, 766 (9th Cir. 1999) (citing N.

Haven Bd. of Educ. v. Bell, 456 U.S. 512, 523-24 & n.13 (1982)). It mandates that no person

“shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any education program or activity receiving Federal financial

assistance.” 20 U.S.C. § 1681(a).

       In 1975, at Congress’s express direction, the executive branch promulgated implementing

regulations for Title IX. Those regulations declare that “[n]o person shall, on the basis of sex, be

excluded from participation in, be denied the benefits of, be treated differently from another person

or otherwise be discriminated against in any interscholastic, intercollegiate, club or intramural

athletics offered by a recipient, and no recipient shall provide any such athletics separately on such

basis.” 34 C.F.R. § 106.41(a). Like the text of Title IX itself, the regulation is sex-neutral on its

face, but “it would require blinders to ignore that the motivation for the promulgation of the

regulation” was to increase opportunities for women and girls. Williams v. Sch. Dist. of Bethlehem,

998 F.2d 168, 175 (3d Cir. 1993).

       The regulation—“notwithstanding” the requirement of 106.41(a)—then authorizes

“separate teams for members of each sex where selection for such teams is based upon competitive

skill or the activity involved is a contact sport.” 34 C.F.R. § 106.41(b). And § 106.41(c) requires

that all subject entities “shall provide equal athletic opportunity for members of both sexes.” The

factors to consider in determining whether equal opportunities are available include whether the

program provides “levels of competition” that “effectively accommodate the . . . abilities of

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members of both sexes,” and whether the program provides equal opportunities for public

recognition or “publicity” to both sexes. Id., §§ 106.41(c)(1), (10) (emphases added).

        Thus, Title IX is different from the civil rights statutes that are concerned with race, such

as Title VI and VII, and the decisions interpreting those statutes. Indeed, the U.S. Department of

Education’s Office of Civil Rights in a 1996 “Dear Colleague” letter accompanying a formal

“Clarification of Intercollegiate Athletics Policy Guidance: The Three-Part Test” (the “1996

Clarification”), noted that Title IX is “unique” in this respect and in “contrast” to Title VI, which

would prohibit without exception “separate athletic programs on the basis of race or national

origin.”14 Indeed, the Supreme Court has also recognized that Title IX is different than Title VII.

Bostock, 590 U.S. at ___, 140 S. Ct. at 1753.15

        Before the enactment of Title IX in 1972, schools often emphasized boys’ athletic

programs “to the exclusion of girls’ athletic programs,” Williams, 998 F.2d at 175, and vastly fewer

girls participated in competitive interscholastic athletics than boys. Title IX has been strikingly

successful in changing this. “For example, between 1972 and 2011, girls’ participation in high

school athletics increased from approximately 250,000 to 3.25 million students.”16 Title IX is

regularly given substantial credit for this sea change. E.g., Neal, 198 F.3d at 773.




14
    Letter from Norma V. Cantu, Assistant Sec’y for Civ. Rts., to Colleagues (Jan. 16, 1996), available at
https://www2.ed.gov/about/offices/list/ocr/docs/clarific.html. The Second Circuit has found the 1996 Clarification is
“entitled to substantial deference under Auer v. Robbins, [519 U.S. 452, 461 (1997)].” Biediger v. Quinnipiac
University, 691 F.3d 85, 97 (2d Cir. 2012) (citation omitted).
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   See also Memorandum from Reed D. Rubinstein, Principal Deputy Gen. Couns., for Kimberly M. Richey, Acting
Assistant     Sec’y      of    the     Off.      For     Civ.    Rts.    (Jan.     8,    2021),     available      at
https://www2.ed.gov/about/offices/list/ocr/correspondence/other/ogc-memorandum-
01082021.pdf?utm_content=&utm_medium=email&utm_name=&utm_source=govdelivery&utm_term=.
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   U.S. DEP’T OF EDUC., OFFICE OF CIV. RTS., PROTECTING CIVIL RIGHTS, ADVANCING EQUITY: REPORT TO THE
PRESIDENT AND SECRETARY OF EDUCATION, UNDER SECTION 203(B)(1) OF THE DEPARTMENT OF EDUCATION
ORGANIZATION ACT, FY 13-14 33 (2015), available at https://www2.ed.gov/about/reports/annual/ocr/report-to-
president-and-secretary-of-education-2013-14.pdf.

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                       2.      “Sex” Under Title IX Means Biological Sex.
       As the historical agency interpretations, implementing regulations, and controlling case

law establish, the term “sex” in this context can only reasonably be understood to mean biological

sex—not the person’s internal sense of being male or female, or their outward presentation of that

internally felt sense (sometimes referenced as “gender identity”).

       Title IX uses the term “sex.” The interpretive regulations use the term “sex” to mean the

two biological sexes, male and female. See e.g. 34 C.F.R. § 106.41(c) (recipients “shall provide

equal athletic opportunity for members of both sexes”) (emphasis added). The ordinary meaning

of “both” connotes two.

       Even the Supreme Court has consistently recognized the term to identify only two sexes—

male and female. Bostock, 590 U.S. at ___, 140 S. Ct. at 1739 (proceeding on the assumption that

at the time of Title VII’s passage, the term sex “referr[ed] only to biological distinctions between

male and female” and did not include “norms concerning gender identity”); see, also, Frontiero v.

Richardson, 411 U.S. 677, 686 (1973) (plurality opinion) (“[S]ex, like race and national origin, is

an immutable characteristic determined solely by the accident of birth.”); 34 CFR §§ 106.32(b)(1),

106.33, 106.34, 106.40, 106.41, 106.43, 106.52, 106.59, 106.61. Contrary to the statute’s and

regulation’s plain language—which Plaintiff does not challenge—Plaintiff asserts at least four

“genders” or “gender identities.” Dr. Kidd, Plaintiff’s current medical doctor, asserts that there are

in excess of 27 genders, perhaps as many as 100. Ex. I, Kidd Dep. at pp. 63:23- 64:4. Plaintiff’s

position that a student-athlete should be permitted to participate on a team consistent with the

athlete’s gender identity rather than biological sex creates a conundrum for schools facing this vast

array of gender identities. On which team should biological male athletes identifying as nonbinary,

bi-gender, agender, nongender, gray gender, etc. participate? Is it whichever team that athlete

chooses at any particular time? Bostock continued this understanding that the ordinary public

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meaning of the term “sex” in Title VII means biological distinctions between male and female.

590 U.S. at ___, 140 S. Ct. at 1738-39. This is consistent with, and further supports, the long-

standing and unchallenged agency construction of the term “sex” in Title IX to mean biological

sex, male or female.

       Thus, contrary to suggestions that the State created its own definition of “sex,” the

Legislature relied on the commonly accepted definition of the word “sex” as referring to the

physiological differences between biological males and females, including medical definitions,

statutory and regulatory meanings, and controlling caselaw from the Supreme Court. See also pp.

6-7, supra. Any other reading would impede the purposes of Title IX because sex—not gender

identity—governs physiological athletic ability.

                   3. Section 25d furthers, not violates, Title IX.
       With this background, nothing in Section 25d is contrary to Title IX or its implementing

regulations. Plaintiff accepts that Title IX authorizes sports teams separated by sex. Because this

separation exists, Plaintiff seeks to join the separate female teams. But the implementation of

Plaintiff’s position would allow biological males to participate on teams contrary to the very basis

for the separation. Bridgeport Middle maintains sex-separated cross-country and track teams, and

under Section 25d, Plaintiff would be entitled to join the boys’ teams. But requiring the school to

allow Plaintiff, a biological male who identifies as female, to join the female team compromises

the separation of athletics as explicitly authorized by Title IX and its implementing regulations—

which again, go unchallenged here.

       It has long been recognized in law that biological females and biological males are different

in ways that are relevant to athletics because of physiological differences between males and

females. See Virginia, 518 U.S. at 533. The Ninth Circuit, ruling against a boy’s challenge to a

high school policy excluding males from participating on the girls’ volleyball team, affirmed that

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the exclusion of boys was necessary to secure equal opportunity and treatment for female athletes.

See Clark, 695 F.2d 1126. It found it a “physiological fact” that “males would have an undue

advantage competing against women,” and that the evidence was clear that “due to average

physiological differences, males would displace females to a substantial extent if they were

allowed to compete for positions” on the women’s team. Id. at 1131. The result would be that

“athletic opportunities for women would be diminished.” Id.; see also Williams, 998 F.2d at 178.

       The holding of Grimm, while controlling authority as to school bathroom usage for a

specific student, does not apply here. Grimm does not interpret Title IX or its implementing

regulations as they relate to athletics. Those regulations are separate and different from other Title

IX provisions. In fact, Grimm is explicitly “limited to how school bathroom policies implicate the

rights of transgender students who ‘consistently, persistently, and insistently’ express a binary

gender.” Grimm, 972 F.3d at 596. Moreover, Grimm determined that the bathroom policy, as

applied to the transmale plaintiff, was not substantially related to the governmental interest of

privacy because plaintiff Grimm, a high school student, had “physical features commonly

associated with the male sex” such as facial hair, no breasts, and a deepened voice. Id. at 621

(Wynn J. Concurring). While changing physical appearance may ameliorate privacy concerns in

properly re-configured bathrooms (as the school district had done), the State has established that

identifying as female, even if accompanied by puberty blockers or hormone treatment, does not

eliminate male performance advantages or safety concerns. See supra Section B.

       Moreover, Bostock and other Supreme Court decisions control on this issue, absent a clear

and more specific direction from the Fourth Circuit, which simply does not appear in Grimm.

Under Bostock and the controlling regulations, Section 25d does treat similarly situated people the

same. As noted, Title IX athletic regulations contemplate two sexes based on biological sex. It



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does not contemplate segregating sports based on over 27 genders (see Kidd Dep. at pp. 63-64) or

on athletes whose “gender identity” either changes or whose understanding of gender “can change

over time.” See Janssen Dep. at pp. 46-51. Athletic teams are separated into male and female

athletes. The statute, the regulations, and all relevant circuit court decisions consistently look at

this based on biological sex, which is precisely what Section 25d does.

         Accordingly, under Title IX and its implementing regulations as currently written and

interpreted—which Plaintiff does not challenge—schools must consider students’ biological sex

when determining whether male and female student athletes have equal opportunities to

participate. McCormick v. School Dist. of Mamaroneck, 370 F.3d 275, 287 (2d Cir. 2004).

         Ultimately, Plaintiff seeks to have the State (and most other Defendants) discriminate on

the basis of gender identity, thereby redefining eligibility for participation in women’s sports. By

defining such eligibility on the basis of biological sex, however, Section 25d disregards gender

identity, thus not discriminating “on the basis” of it. There is no Title IX violation here.17

                                                 CONCLUSION
         The State of West Virginia is entitled to summary judgement on both of Plaintiff’s causes

of action.

                                                      Respectfully submitted,

                                                      By counsel,
                                                      PATRICK MORRISEY
                                                       West Virginia Attorney General

                                                      /s/ Curtis R. A. Capehart
                                                      Douglas P. Buffington II (WV Bar # 8157)
                                                        Chief Deputy Attorney General

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   From the enactment of the Title IX women’s athletics regulations until as late as January 2021, the U.S. Department
of Education and the Department of Justice have repeatedly taken a position consistent with that set forth in Section
25d, both before and after Bostock. See supra notes 14 & 15; see also Statement of Interest of the United States, Soule
v. Conn Ass’n of Schs., 3:20-cv-00201 (D. Conn. Mar. 24, 2020), ECF No. 75; Br. of United States as Amicus Curiae,
Hecox v. Little, No. 20-35813 (9th Cir. Nov. 19, 2020), ECF No. 45. Thus, the United States’ Statement of Interest in
this case contradicts its long-held view without subjecting this new interpretation to public review and comment.

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                                   DATE: April 21, 2022




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION


 B. P. J., by her next friend and mother,
 HEATHER JACKSON,


        Plaintiff,


 v.                                                CIVIL ACTION NO. 2:21-cv-00316
                                                   Judge Joseph R. Goodwin
 WEST VIRGINIA STATE BOARD OF
 EDUCATION, HARRISON COUNTY
 BOARD OF EDUCATION, WEST VIRGINIA
 SECONDARY SCHOOL ACTIVITIES
 COMMISSION, W. CLAYTON BURCH, in
 his official Capacity as State Superintendent,
 DORA STUTLER, in her official capacity as
 Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA BOARD OF
 EDUCATION, et al.,


        Defendants.


 and LAINEY ARMISTEAD,

        Intervenor Defendant.


                                 CERTIFICATE OF SERVICE
        I hereby certify that, on this 21st day of April, I electronically filed the foregoing
“Defendant State of West Virginia’s Motion for Summary Judgment” with the Clerk of Court
and all parties using the CM/ECF System.


                                             /s/ Curtis R. A. Capehart
                                             Curtis R. A. Capehart




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